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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


   MICHAEL GONIDAKIS, et al.,

                  Plaintiffs,                          Case No. 2:22-cv-773

                          v.                           Chief Judge Algernon Marbley

   FRANK LAROSE,                                       Circuit Judge Amul Thapar

                  Defendant, and                       Judge Benjamin J. Beaton

   LEAGUE OF WOMEN VOTERS OF OHIO
   and A. PHILIP RANDOLPH INSTITUTE
   OF OHIO,

                  Intervenor-Defendants.


               INTERVENOR-DEFENDANTS’ DISCLOSURE OF WITNESSES


         Intervenor-Defendants the League of Women Voters of Ohio and A. Philip Randolph

  Institute of Ohio hereby notify this Court and the parties that they do not intend to call any

  witnesses at the March 30, 2022 preliminary injunction hearing.

                                                     Respectfully submitted,

                                                     /s/ Freda J. Levenson
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                                  CERTIFICATE OF SERVICE

         I , Freda J. Levenson, hereby certify that on this 29th day of March, 2022, I electronically

  filed the foregoing with the Clerk of Court for the United States District Court for the Southern

  District of Ohio, Eastern Division via the ECF system, which will send notification of such filing

  to all counsel of record.



                                                               /s/ Freda J. Levenson
                                                               Freda J. Levenson (0045916)
                                                               Counsel for Intervenor-Defendants




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